IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY.
PENNSYLVANIA CIVIL DIVISION

CHRISTINE BIROS, an individual,

 

CIVIL DIVISION
Plaintiff, No. 17C 304886
VS.
ORDER OF COURT
U LOCK, INC.,, a Pemsyivania — 23
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Defendant. ae =< nz,

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AND NOW, this day of LIMES» , 2083, i t"ighereby
ORDERED and DECREED that: J

1. The Prothonotary of Westmoreland County is directed to issue a Writ of

Possession to the Sheriff of Westmoreland County for property situate at 14140 Route 30, North

Huntingdon, PA 15642, with a Tax Map No. 54-03-10-0-10 (the “Property”) against Defendant
U Lock, Inc. and in favor of Plaintiff Christine Biros

2. Such Writ will authorize levy and sale of any property of Defendant U Lock to

satisfy (a) the costs of the levy; (b) any unpaid property taxes; and (c) the costs of removal of

rubbish, trash, used cars and any other environmental hazard located on the Property

3. Defendant U Lock within five (5) days will comply with the Order of the

Pennsylvania Supreme Court to pay all due and unpaid real estate taxes on the Property

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ATTEST: }
GINA O’BARTO
PROTHONOTARY

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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PA.
CIVIL ACTION —- LAW

CHRISTINE BIROS, an individual, Case No. X 4886 OF 2017
Plaintiff(s) WRIT OF POSSESSION
Vs.

U LOCK, INC., a Pennsylvania corporation,
Defendant(s)

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF WESTMORELAND

TO THE SHERIFF OF WESTMORELAND COUNTY:

To satisfy the judgment for possession in the above matter you are directed to deliver
possession of the following described property to CHRISTINE BIROS, an individual,

14140 Route 30, North Huntingdon, PA 15642, with a Tax Map No. 54-03-10-0-10
(2) To satisfy the costs against U LOCK, INC., a Pennsylvania corporation you are

directed to levy upon any property of U LOCK, INC., a Pennsylvania corporation and
sell (his, her, their, its) interest therein.

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Date: May 13, 2022 Ane OPadty

N Prothonotary
C OF : Deputy
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LAW FIRM OF WILLIAM E. OTTO
WILLIAM OTTO, ESQUIRE

 

 
